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 1                                                   The Honorable Ronald B. Leighton

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 8                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 9                                AT TACOMA
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     HIDDEN HILLS MANAGEMENT, LLC,         No. 3:17-cv-06048-RBL
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                      Plaintiff,           AMTAX HOLDINGS 114, LLC’S
12                                         OPPOSITION TO HIDDEN HILLS
          v.                               MANAGEMENT, LLC’S MOTION TO
13                                         AMEND AND SUPPLEMENT THE
     AMTAX HOLDINGS 114, LLC,              COMPLAINT
14
                      Defendant.           NOTE ON MOTION CALENDAR:
15                                         May 25, 2018

16   AMTAX HOLDINGS 114, LLC,

17                    Counter-Plaintiff,

18        v.

19   HIDDEN HILLS MANAGEMENT, LLC,

20                    Counter-Defendant.

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     OPPOSITION TO MOTION TO AMEND                    Boies Schiller Flexner LLP
     AND SUPPLEMENT THE COMPLAINT                 725 South Figueroa Street, 31st Floor
     No. 3:17-cv-06048-RBL                           Los Angeles, CA 90017-5524
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 1          Defendant and Counter-Plaintiff AMTAX Holdings 114, LLC (“Defendant”) respectfully

 2 submits this Opposition to Plaintiff and Counter-Defendant Hidden Hills Management, LLC’s

 3 Motion to Amend and Supplement its Complaint (“Motion”).

 4   I.     INTRODUCTION

 5          Plaintiff and Counter-Defendant Hidden Hills Management, LLC (“Plaintiff”) has sued

 6 Defendant in connection with an affordable housing development in University Place,

 7 Washington (the “Hidden Hills Complex”). The Hidden Hills Complex is owned by Hidden

 8 Hills 2001, L.P., a low-income housing tax credit (“LIHTC”) limited partnership (the “Hidden

 9 Hills Partnership”). Defendant is the Hidden Hills Partnership’s Investor Limited Partner, and

10 Plaintiff is its General Partner. The Hidden Hills Partnership is governed by an Amended and

11 Restated Agreement of Limited Partnership (the “Hidden Hills LPA”), which contains a specific

12 procedure that Plaintiff must follow to exercise its option to purchase Defendant’s interest in the

13 Hidden Hills Partnership. At bottom, this case is about (1) whether Plaintiff properly exercised

14 its option to purchase Defendant’s interest in the Hidden Hills Partnership, and (2) whether

15 Defendant or Plaintiff is responsible for the costs of environmental remediation at the Hidden

16 Hills Complex.

17          Plaintiff’s Motion, however, seeks leave to “amend and supplement” its complaint to add

18 claims brought by a completely different plaintiff against a completely different defendant and
19 involving a completely different property, partnership, and partnership agreement. This Court

20 should deny Plaintiff’s motion because: (a) Plaintiff’s proposed supplemental pleading seeks to

21 introduce a separate, new, and distinct cause of action in contravention of Federal Rule of Civil

22 Procedure 15(d); (b) permitting Plaintiff to supplement its pleading in the manner proposed

23 would prejudice Defendant; and (c) Plaintiff moved to supplement its pleading in bad faith.

24 II.      BACKGROUND

25          Plaintiff filed this action in Pierce County Superior Court on November 14, 2017, and

26 Defendant removed the action to this Court on December 14, 2017. Through its action, Plaintiff

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 1 seeks to force Defendant to sell its interest in the Hidden Hills Partnership for millions of dollars

 2 less than the price Defendant is entitled to receive. Plaintiff failed, however, to follow the

 3 procedures set forth in the Hidden Hills LPA for exercising its purchase option. Specifically,

 4 Plaintiff violated Section 7.4.J of the Hidden Hills LPA by: (a) improperly influencing the

 5 independent appraisal process in an effort to depress the appraised value of the Hidden Hills

 6 Complex and thereby reduce the price Plaintiff would have to pay to exercise its option to

 7 purchase Defendant’s interest in the Hidden Hills Partnership; and (b) secretly hiring a third

 8 appraiser in violation of the appraiser selection provisions of Section 7.4.J while falsely

 9 representing to Defendant that it remained interested in Defendant’s proposal to list and market

10 the property for sale. As a result of Plaintiff’s misconduct, Defendant sent a letter on November

11 30, 2017 notifying Plaintiff that Defendant was exercising its right under Section 4.5(A)(iv)(2) of

12 the Hidden Hills LPA to remove Plaintiff as a General Partner of the Hidden Hills Partnership

13 based on material breaches by Plaintiff of its contractual and fiduciary duties. On December 21,

14 2017, Defendant brought counterclaims against Plaintiff, which Defendant subsequently

15 amended on April 30, 2018 to include claims related to Plaintiff’s obligation to indemnify

16 Defendant for any harm or loss arising out of the environmental condition of the Hidden Hills

17 Complex.

18          Non-party AMTAX Holdings 169, LLC (“AMTAX 169”) is the Investor Limited Partner
19 of Parkway Apartments, LP, a LIHTC limited partnership (the “Parkway Partnership”) formed to

20 develop, own, operate, and ultimately dispose of an affordable housing development in Federal

21 Way, Washington (the “Parkway Apartments”). The Parkway Partnership is governed by an

22 Amended and Restated Agreement of Limited Partnership (the “Parkway LPA”). 334th Place

23 2001, LLC (“334th Place”) is the General Partner of the Parkway Partnership. Although

24 Catherine Tamaro is the managing member of both 334th Place and Plaintiff, neither Plaintiff nor

25 Defendant have any ownership interest in the Parkway Partnership or the Parkway Apartments.

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 1          Starting in late 2017, AMTAX 169 began to uncover questionable activity by 334th Place

 2 in its capacity as General Partner of the Parkway Partnership. On January 3, 2018, 334th Place

 3 sent a letter purporting to exercise its option to purchase AMTAX 169’s interest in the Parkway

 4 Partnership.

 5          On March 6, 2018, AMTAX 169 sent a letter to 334th Place stating that it was evaluating

 6 questionable activity by 334th Place in its capacity as General Partner of Parkway Partnership,

 7 including 334th Place’s failure to maximize rental income, the disproportionately high growth of

 8 operating expenses at the Parkway Apartments, and the payment of fees and distributions to

 9 334th Place and/or its affiliates that were not permitted by or in excess of the amounts permitted

10 by the Parkway LPA. (See Declaration of Eric S. Pettit (“Pettit Decl.”) ¶ 3, Exh. A.) AMTAX

11 169 explained that it would address 334th Place’s purported exercise of its purchase option once

12 AMTAX 169 had completed its review of those issues. (Id.)

13          AMTAX 169 was preparing to send a letter detailing material defaults by 334th Place

14 when, on the morning of May 8, 2018, Plaintiff’s counsel emailed Defendant’s counsel

15 requesting that Defendant stipulate to an amendment of Plaintiff’s complaint to include

16 allegations and claims regarding the Parkway Apartments, the Parkway Partnership, the Parkway

17 LPA, 334th Place, and AMTAX 169. (See Pettit Decl. ¶ 4, Exh. B.) Plaintiff’s counsel stated

18 that Plaintiff would file a motion for leave to amend by the close of business that same day if
19 Defendant did not stipulate to the amendment. (Id.)

20          Defendant’s counsel responded that afternoon. (See id.) Defendant’s counsel forwarded

21 a letter from AMTAX 169 to 334th Place “that addresses certain issues raised in [Plaintiff’s]

22 proposed amendment.” (See id.) AMTAX 169’s letter stated that: (a) 334th Place is in default of

23 its obligation to maximize partnership income by increasing rental rates at the Parkway

24 Apartments to levels permitted under the LIHTC program; (b) 334th Place has paid itself or its

25 affiliates more than $1.5 million in fees that were either unauthorized or grossly exceeded the

26 authorized fee amounts, violating the Parkway LPA and 334th Place’s fiduciary duties; (c) the

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 1 operating expenses of the Parkway Apartments have substantially and inexplicably outpaced

 2 inflation; and (d) 334th Place’s actions have resulted in substantial economic losses to the

 3 Parkway Partnership and to AMTAX 169 and thus constitute grounds for 334th Place’s removal

 4 from the Parkway Partnership. (See ECF No. 26, Exh. 1.) AMTAX 169 explained that 334th

 5 Place could not effectively invoke its purchase option until 334th Place cured the breaches of the

 6 Parkway LPA described above. (Id.) AMTAX 169 promised to refrain from removing 334th

 7 Place from the Parkway Partnership until May 18, 2018 in order to permit 334th Place to cure

 8 these breaches. (Id.)

 9          In his email forwarding the letter, Defendant’s counsel expressed his hope that the issues

10 raised in AMTAX 169’s letter would be considered and addressed before Plaintiff went forward

11 with its motion to amend. (See Pettit Decl. ¶ 4, Exh. B.) Defendant’s counsel also questioned in

12 his email whether Plaintiff’s proposed amendment was appropriate given that it sought to add

13 new parties and allegations relating to a completely different property, and requested that

14 Plaintiff’s counsel provide a draft of the motion before filing it so that Defendant could assess

15 what, if any, authority would support permitting Plaintiff’s proposed amendment. See id.

16 Plaintiff ignored this request, however, and filed its motion to amend and supplement its

17 complaint on the evening of May 8, 2018. (ECF No. 25.)

18 III.     HHM’S MOTION SHOULD BE DENIED
19          Federal Rule of Civil Procedure 15(a) applies to matters that occurred prior to the filing

20 of the original pleading. 6A Wright & Miller, Fed. Prac. & Proc. Civ. § 1504 (3d ed.). To the

21 extent Plaintiff’s Motion seeks to be more specific in identifying the existing parties and claims

22 in this action, or to cite federal rather than state law in an amended complaint, Defendant does

23 not oppose such amendments.

24          The Motion, however, seeks to accomplish much more. Specifically, Plaintiff seeks to

25 add non-party 334th Place as a plaintiff, to add non-party AMTAX 169 as a defendant, and to

26 assert allegations and claims related to the Parkway Apartments, the Parkway Partnership, and

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 1 the Parkway LPA based on conduct that allegedly began on December 31, 2017. (ECF No. 25,

 2 Exh. A ¶¶ 6–10, 38–47, 52–54, Prayer for Relief ¶¶ 3–5.)

 3          Where, as here, a party seeks to file new claims based on facts that did not exist when the

 4 original complaint was filed, Federal Rule of Civil Procedure 15(d) applies. See Eid v. Alaska

 5 Airlines, Inc., 621 F.3d 858, 874 (9th Cir. 2010). While Rule 15(d) contemplates that “persons

 6 participating in these new events may be added if necessary[,]” Keith v. Volpe, 858 F.2d 467,

 7 475 (9th Cir. 1988) (quoting Griffin v. Cty. Sch. Bd. of Prince Edward Cty., 377 U.S. 218, 227

 8 (1964)), Rule 15(d) does not permit Plaintiff to supplement its complaint by introducing new

 9 factual allegations, new claims, and new parties that have no relation to the original complaint.

10 As explained below, the Court should deny Plaintiff’s Motion because: (a) Plaintiff’s proposed

11 supplemental pleading seeks to introduce a separate, new, and distinct cause of action in

12 contravention of Rule 15(d); (b) permitting Plaintiff to supplement its pleading in the manner

13 proposed would prejudice Defendant; and (c) Plaintiff brought its Motion in bad faith.

14          A.     Plaintiff’s Proposed Supplemental Pleading Impermissibly Seeks to

15                 Introduce a Separate, Distinct, and New Cause of Action

16          The Ninth Circuit has held that a supplemental pleading “cannot be used to introduce a

17 separate, distinct and new cause of action.” Planned Parenthood of S. Arizona v. Neely, 130

18 F.3d 400, 402 (9th Cir. 1997) (citations and quotation marks omitted). Rather, for a
19 supplemental pleading to be proper under Rule 15(d), “some relationship must exist between the

20 newly alleged matters and the subject of the original action[.]” Keith, 858 F.2d 467, 474 (9th

21 Cir. 1988); see also Holmberg v. Vail, No. 11-cv-5449-BHS-KLS, 2012 WL 3144929, at *2

22 (W.D. Wash. Aug. 1, 2012) (“The threshold consideration for the district court is whether the

23 supplemental facts connect [the supplemental pleading] to the original pleading.” (quotation

24 marks omitted, alteration in original)).

25          Here, Plaintiff’s Motion impermissibly seeks to supplement its pleading with a “separate,

26 distinct, and new cause of action.” Neely, 130 F.3d at 402 (quotation marks omitted). (See also

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 1 ECF No. 25, Exh. B ¶¶ 52–55 (adding new “Cause of Action for Declaratory Relief Regarding

 2 Parkway Dispute”).) Indeed, Plaintiff’s proposed claim would not even be asserted by Plaintiff

 3 itself nor would it be asserted against Defendant. Instead, the proposed claim would be asserted

 4 by a non-party against another non-party. The proposed claim, moreover, has nothing to do with

 5 the Hidden Hills Complex, and relates instead to a completely different apartment complex in

 6 which neither Plaintiff nor Defendant have any ownership interest.

 7          There is also no overlap between the dispute at issue in this lawsuit and the claim

 8 Plaintiff seeks to add through its Motion. The primary issue in this case is whether Plaintiff

 9 followed the independent appraisal process set forth in Section 7.4.J of the Hidden Hills LPA in

10 connection with the exercise of its option to purchase Defendant’s interest in the Hidden Hills

11 Partnership and, if so, what price Plaintiff must pay for that interest. The primary issue in

12 dispute regarding the Parkway Apartments, by contrast, is whether 334th Place is entitled to

13 exercise its option at all given its breaches of the Parkway LPA and its fiduciary duty violations,

14 including its failure to maximize partnership income, its payment of unauthorized or excessive

15 fees to itself and affiliates, and its payment of excessive operating expenses. In light of these

16 differences, it is unsurprising that Plaintiff makes no attempt in its Motion or its proposed

17 supplemental pleading to connect its supplemental allegations to its allegations in the original

18 complaint.
19          Plaintiff’s new allegations and claims are more properly the subject of a separate action

20 brought by 334th Place. See Neely, 130 F.3d at 402 (“The supplemental complaint filed by

21 plaintiffs involved a new and distinct action that should have been the subject of a separate

22 suit.”); see also Rivera v. McGaffey, No. 11-cv-5942-RJB-KLS, 2013 WL 28240, at *2–3 (W.D.

23 Wash. Jan. 2, 2013) (denying leave to amend and concluding that the new claim should be the

24 subject of a separate action where the parties involved in the new claim and the evidence to

25 support the new claim were distinct from the existing claim). There are no “technical obstacles”

26 to bringing a separate action, and the lack of any factual or substantive overlap between the

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 1 existing and the proposed new allegations make it easy to extract those new allegations and

 2 assert them in a separate action. Neely, 130 F.3d at 402 (noting that the “general purpose of the

 3 Rules [regarding amended and supplemental complaints is] to minimize technical obstacles to a

 4 determination of the controversy on its merits”).

 5          Granting Plaintiff leave to supplement would thus be inconsistent with the purpose of

 6 Rule 15(d), and the Court should deny Plaintiff’s motion to supplement its complaint on this

 7 basis alone.

 8          B.      Permitting Plaintiff to Supplement Its Pleading Would Prejudice Defendant

 9          Even where, unlike here, a proposed supplemental pleading does not seek to add a

10 separate, distinct, and new cause of action, courts consider the factors relevant to a Rule 15(a)

11 motion to amend when considering whether to permit a supplemental pleading. See Lyon v. U.S.

12 Immigration & Customs Enf’t, 308 F.R.D. 203, 214 (N.D. Cal. 2015); Oregon Nat. Desert Ass’n

13 v. McDaniel, 282 F.R.D. 533, 537 (D. Or. 2012). These factors are (1) undue delay, (2) bad faith

14 or dilatory motive on the part of the movant, (3) repeated failure of previous amendments,

15 (4) undue prejudice to the opposing party, and (5) futility of the amendment. See Foman v.

16 Davis, 371 U.S. 178, 182 (1962). Among these factors, “it is the consideration of prejudice to

17 the opposing party that carries the greatest weight.” Eminence Capital, LLC v. Aspeon, Inc., 316

18 F.3d 1048, 1052 (9th Cir. 2003); see also Codexis, Inc. v. EnzymeWorks, Inc., No. 3:16-cv-
19 00826-WHO, 2017 WL 4236860, at *2 (N.D. Cal. Sept. 25, 2017) (“[I]t is generally accepted

20 that prejudice and bad faith are the most important factors to consider.”).

21          “‘Prejudice,’ in the context of a motion to amend, means undue difficulty in prosecuting a

22 lawsuit as a result of a change of tactics or theories on the part of the other party.” Wizards of

23 the Coast LLC v. Cryptozoic Entm’t LLC, 309 F.R.D. 645, 652 (W.D. Wash. 2015) (quotation

24 marks omitted). Here, Defendant would be prejudiced if Plaintiff were permitted to inject into

25 this lawsuit new allegations, claims, and parties in connection with a dispute over an unrelated

26 property, partnership, and partnership agreement. The deadline for filing a motion to join parties

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 1 passed on March 1, 2018, more than two months ago. (See ECF No. 19.) The Parties, moreover,

 2 have already engaged in substantial discovery – propounding and responding to discovery

 3 requests, issuing third party subpoenas, and producing thousands of documents. The proposed

 4 supplemental complaint, however, contains new parties and unrelated claims that would require

 5 additional discovery. The additional discovery that would be necessary for the allegations and

 6 claims relating to non-parties 334th Place and AMTAX 169 would needlessly delay the progress

 7 of the case actually before the Court.

 8          Plaintiff’s proposed allegations will also result in a lengthier and more complicated trial,

 9 in which two separate sets of facts regarding the Hidden Hills Complex and Parkway Apartments

10 are likely to confuse and mislead the jury. See 6 Wright & Miller, Fed. Prac. & Proc. Civ.

11 § 1487 (3d ed.) (“[I]f the court determines that the proposed amendment would result in

12 defendant being put to added expense and the burden of a more complicated and lengthy trial or

13 that the issues raised by the amendment are remote from the other issues in the case and might

14 confuse or mislead the jury, leave to amend may be denied.”); Lover v. District of Columbia, 248

15 F.R.D. 319, 323 (D.D.C. 2008) (when determining whether to permit an amendment that would

16 add a new party, “the court should consider whether there is a risk of jury confusion before the

17 claims of multiple plaintiffs can be tried in a single action”); cf. Anthony v. Mason Cty., No. 13-

18 cv-5473-RBL, 2014 WL 1413421, at *5 (W.D. Wash. Apr. 11, 2014) (granting a motion to
19 amend in part because “[t]he witnesses, parties and most of the significant facts ha[d] not

20 changed”). Defendant should not be compelled to engage in an unnecessarily complex trial

21 involving claims in which it has no interest whatsoever, and a jury should not be asked to engage

22 in the difficult task of compartmentalizing evidence when Defendant’s proposed supplemental

23 allegations bear no relation to the existing complaint.

24          C.     Plaintiff Sought Leave to Supplement Its Pleading in Bad Faith

25          “In the context of a motion for leave to amend, ‘bad faith’ means acting with intent to

26 deceive, harass, mislead, delay, or disrupt.” Wizards of the Coast, 309 F.R.D. at 651. In his

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 1 May 8, 2018 email to Plaintiff’s counsel, Defendant’s counsel respectfully requested that

 2 Plaintiff refrain from bringing its Motion until 334th Place had an opportunity to consider the

 3 issues raised in AMTAX 169’s letter, or, in the alternative, that Plaintiff’s counsel provide a draft

 4 of the Motion before filing so that Defendant could evaluate whether any authority supported

 5 amending the complaint in the manner sought by Plaintiff. (See Pettit Decl. ¶ 4, Exh. B.)

 6 Plaintiff, however, ignored these requests, and unnecessarily filed its Motion only hours after

 7 receiving a response from Defendant’s counsel.

 8          Given the opportunity to meet and confer in good faith, Defendant would have explained

 9 that the case on which Plaintiff justifies its proposed addition of new claims and parties to this

10 lawsuit bears no relation to the facts present here, and provides no support for Plaintiff’s Motion.

11 (See Motion at 2 (quoting Keith, 858 F.2d at 475).) In Keith, a group of individuals and

12 organizations brought a lawsuit relating to the potential dislocation of people living in the path of

13 a planned freeway in the Los Angeles area. See Keith, 858 F.2d at 470. While Keith does

14 contain generic language supporting the proposition that “new claims, new parties, and events

15 occurring after the original action are all properly permitted under Fed. R. Civ. P. 15(d)[,]” id. at

16 475, it also made clear that the new claims, parties, and events must relate in some way to the

17 same underlying dispute that led to the lawsuit being filed in the first place. See id. at 474 (“The

18 concern in the original action, the consent decree, and the supplemental complaint is the same—
19 the availability of replacement housing for persons displaced by the Century Freeway.”); see also

20 Griffin, 377 U.S. at 226–27 (permitting the addition of new parties and claims where the “new

21 transactions were alleged to have occurred as part of continued, persistent efforts to circumvent

22 our 1955 holding that Prince Edward County could not continue to operate, maintain, and

23 support a system of schools in which students were segregated on a racial basis”).

24          Here, unlike in Keith or Griffin, the new allegations, claims, and parties that Plaintiff

25 seeks to add through its Motion are completely independent of the facts originally giving rise to

26 this lawsuit, and thus are inappropriate to add through Rule 15(d). See Neely, 130 F.3d at 402.

     OPPOSITION TO MOTION TO AMEND                                   Boies Schiller Flexner LLP
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 1 The Motion accordingly is completely lacking in merit, and Plaintiff’s insistence on proceeding

 2 in this improper manner has forced Defendant and the Court to expend limited resources

 3 unnecessarily.

 4   IV.   CONCLUSION

 5         For all of the foregoing reasons, Plaintiff’s Motion should be denied.

 6

 7 DATED: May 21, 2018                              By: /s/ Christopher G. Caldwell
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            Case 3:17-cv-06048-RBL Document 28 Filed 05/21/18 Page 15 of 15




 1                                  CERTIFICATE OF SERVICE

 2         On May 21, 2018, I caused to be served upon the below named counsel of record, at the

 3 address stated below, via the method of service indicated, a true and correct copy of the

 4 foregoing document.

 5
   David R. Goodnight
 6 Rita V. Latsinova                                _X_      Via the Clerk’s eFiling Application
   J. Scott Pritchard                               ___      Via hand delivery
 7 Stoel Rives LLP                                  ____     Via U.S. Mail, 1st Class,
   600 University Street, Suite 3600                         Postage Prepaid
 8                                                  ____     Via Overnight Delivery
   Seattle, WA 98101
                                                    ____     Via Facsimile
 9 Phone: (206) 624-0900                            ____     Via Email
   Facsimile: (206) 386-7500
10 Email: david.goodnight@stoel.com
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11 Email: scott.pritchard@stoel.com

12
                   I certify under penalty of perjury under the laws of the State of
13                 Washington that the foregoing is true and correct.
14         EXECUTED at Seattle, Washington, on May 21, 2018.
15

16
                                                      /s/ Steven D. Merriman
17                                                    Steven D. Merriman
18
19

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